 

STATE OF MINNESOTA 1QMEY 29 FOSKI DISTRICT COURT
COUNTY OF HENNEPIN eipy ster FOURTH JUDICIAL DISTRICT
DEPARTMENT

Elliot Raynell Barnes,

Case Type: Personal Injury

Plaintiff,
Court File No.

v.
Officer Richard Walker, individually and in his SUMMONS

professional capacity as a Minneapolis Police
Officer, and the City of Minneapolis,

Defendants

 

THIS SUMMONS IS DIRECTED TO THE CITY OF MINNEAPOLIS

1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you.
The Plaintiff's Complaint against you is attached to this Summons. Do not throw these papers
away. They are official papers that affect your rights. You must respond to this lawsuit even
though it may not yet be filed with the Court and there may be no court file number on this
Summons.

ze YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
must give or mail to the person who signed this summons a written response called an Answer
within 20 days of the date on which you received this Summons. You must send a copy of your
Answer to the person who signed this Summons located at:

Kuhiman Law, PLLC

333 Washington Ave. N., Suite 335
Minneapolis, MN 55401

3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written

response to the Plaintiffs Complaint. In your Answer you must state whether you agree or
disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be given
everything asked for in the Complaint, you must say so in your Answer.

4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS. If
you do not answer within 20 days, you will lose this case. You will not get to tell your side of the
story, and the Court may decide against you and award the Plaintiff everything asked for in the
Complaint. If you do not want to contest the claims stated in the Complaint, you do not need to
respond. A default judgment can then be entered against you for the relief requested in the
Complaint.

5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do
not have a lawyer, the Court Administrator may have information about places where you can
get legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.

6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the Complaint
even if you expect to use alternative means of resolving this dispute.

Dated: May 24, 2013 KUHLMAN Law, PLLC

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Christopher J. Kuhlman, Atty. No. 0386840
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ATTORNEY FOR PLAINTIFF
 

STATE OF MINNESOTA COUNTY OF HENNEPIN

DISTRICT COURT FOURTH JUDICIAL DISTRICT
Elliot Raynell Barnes,
Case No:
Plaintiff,
Vv. COMPLAINT
(JURY TRIAL DEMANDED)

Officer Richard Walker, individually
and in his professional capacity as a
Minneapolis Police Officer, and the
City of Minneapolis

Defendants.

 

Plaintiff Elliot Barnes through his attorney Christopher J. Kuhlman, Union Plaza,
333 Washington Avenue North, Suite 335, Minneapolis, Minnesota 55401, alleges the
following for his causes of action against the Defendants:

PRELIMINARY STATEMENT

L. This is a civil rights action for money damages for injuries sustained by
Plaintiff, Mr. Elliot Barnes, as a result of the excessive use of force and violation of his
constitutional and common law rights by Defendant, Officer Richard Walker, who was
on duty as a Police Officer at the time of the incident. Plaintiff brings this action under

42 U.S.C. § 1983, as Minnesota common law.
 

 

Shortly after midnight on April 3, 2012, Defendant Walker and four other on-duty police
officers entered Barnes’ home. When Barnes asked why the five officers were in the
home, Defendant Officer Walker ordered him to sit down and stop asking questions.
After Barnes sat down, with his hands up, palms facing outward, Defendant Walker
attacked him. Specifically, Defendant Walker pummeled Barnes’s head and face with his
fists, then pinned him to the ground and shouted “stop resisting.” Barnes, however, was

not resisting.

PARTIES

2. Plaintiff Barnes is an African-American citizen of the United States and
was at all times relevant to this action, a resident of Hennepin County, Minnesota.

3. Upon information and belief, Defendant Officer Richard Walker was, at all
times relevant herein, duly appointed and acting as a police officer with the Minneapolis
Police Department which is within Hennepin County. Defendant Officer Walker has
previously been the subject of another alleged excessive force case in 2010 (See Ex. 1).

4. Upon information and belief, Defendant City of Minneapolis (“City”) is a
municipal corporation within Hennepin County, Minnesota and at all times relevant to

this matter employed Defendant Officer Walker.
JURISDICTION & VENUE

5. Barnes brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the
Fourth and Fourteenth Amendments of the United States Constitution, and 28 U.S.C. §§
1331 and 1343(3) and Minnesota common laws of Battery and Assault.

6. Venue is proper in Hennepin County because the events or omissions
giving rise to Barnes’ claims occurred in this judicial district.

FACTUAL ALLEGATIONS

t On or around midnight of April 3, 2012, Barnes and another African-
American friend, Mr. Terranzi Applewhite, were walking home from the bus stop when
several white males threatened them and said they were unwelcome in the neighborhood.
Shaken, Barnes and Applewhite ignored the treats and kept walking to Barnes’ home in
the 5200 block of Irving Ave. N.

8. Barnes has no criminal record and, at the time, was employed as a Private
Security Guard. Upon information and belief, Applewhite also has no criminal record
and is Youth Minister for Bethel Community Christian Center.

9. Two of Mr. Barnes’ housemates, Lisa Lee and Alex Grey, were present at
that house when Barnes and Applewhite arrived home.

10. At approximately 12:16 AM, Defendant Officer Walker, together with
Lieutenant Medaria Arradondo and Officer William Gregory, arrived at the home.

11. The officers entered the home with the consent of another housemate and

demanded that all its occupants come downstairs.
 

 

12. As instructed, Barnes headed downstairs to the living room, as did Mr.
Grey and Applewhite.

13. | Barnes observed the five officers in his home with their guns drawn.

14. The officers patted down Barnes and told him to take his hands from his
pockets.

15. | Barnes complied and then asked what was happening.

16. Defendant Officer Walker told him, “You’ll find out when the other
officers are done.”

17. Still concerned, Barnes asked again why the officers were searching the
house with their guns drawn and why they had frisked him. He said he had a right to
know why the police were in his house.

18. Defendant Officer Walker shouted at him to “shut up and sit down.”

19. Barnes complied with Defendant Officer Walker’s demand. He proceeded
to the couch and sat down with his hands raised, palms facing outward showing that he
was not a threat.

20. Without provocation, Defendant then pointed at Barnes and said, “You
know what! ...” and charged towards him.

21. Defendant grabbed Barnes’ hands, which were still raised, palms facing out
and pinned them down.

22. Defendant then punched Barnes in his face and head approximately seven

times.
23. Barnes took no defensive action, other than to turn his head in an attempt to
protect his face.

24. Defendant then threw Barnes to the floor, pinned him down, and placed his
knee in Barnes’ back and shouted “Stop resisting!” three times.

25. Barnes was not resisting.

26. Barnes said he could not breathe and that he wasn’t resisting.

27. Another officer held Barnes down as Defendant pulled his arms up and
cuffed him.

28. Grey and Applewhite observed Defendant’s unprovoked and senseless
attack on Barnes.

29. Upset and shocked by Defendant Officer Walker’s unprovoked use of
excessive force, Barnes contacted the Civilian Review Board the very next day to report
Walker’s conduct.

30. Grey contacted City Council Member Barbara Jones and the Minneapolis
Police Department 4" Precinct to report Walker’s inappropriate conduct.

31. Barnes was later charged with a Gross Misdemeanor Criminal Charge of
Obstruct Legal Process-Interfere with Peace Officer.

32. This Gross Misdemeanor Charge carried a maximum sentence of up to one
year in jail.

33. Barnes refused to accept any plea offer from the Prosecutor and took his
case to trial.

34. Barnes was acquitted at trial.
35. As a result of Defendant Officer Walker’s conduct, Barnes sustained
injuries to his head, which caused him to miss time at his Security Guard job.

36. As aresult of Defendant Officer Walker’s use of excessive force, Barnes
has suffered from an assortment of symptoms, including: blackouts, headaches, shaking,
anxiety, difficulty sleeping, nail-biting, muscle tension, resumption of smoking, and
lowered self-confidence, as well as feelings of hopelessness, embarrassment, paranoia,
helplessness, confusion, fear, and nervousness.

37. As a result of Defendant’s use of excessive force, Barnes avoids other
people has faced increased pressure from bill collectors and his relationships with his
social friends and others have suffered.

38. As aresult of Defendant Walker’s use of excessive force Barnes is very
anxious upon seeing police or other law enforcement officers.

39. Barnes did not experience any of the above symptoms and injuries before

Defendant Walker attacked him.
COUNT I:
VIOLATION OF 42 U.S.C. § 1983 — EXCESSIVE USE OF FORCE

40. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this
Complaint.

41. |The conduct described above will establish that Defendant Officer Walker,
in his individual capacity, violated Barnes’ Fourth Amendment rights by using excessive
force to affect his arrest.

42. By the actions described above, Defendant Walker, under color of state
law, violated and deprived Plaintiff of his clearly established and well-settled civil right
to be free from the excessive use of force by a police officer.

43. Defendant subjected Plaintiff to these deprivations of constitutional rights
either maliciously, intentionally, deliberately, willfully, or by acting with reckless
disregard for whether Plaintiffs civil rights would be violated by his actions.

44. As a direct and proximate result of the acts of Defendant, Plaintiff has
suffered physical injury and mental anguish, and is therefore damaged in an amount in
excess of seventy-five thousand dollars ($75,000.00).

45. Punitive damages are also properly awardable against Defendant and are
hereby claimed as a matter of federal common law, Smith v. Wade, 461 U.S. 30 (1983),

and, as such, are not subject to the pleading requirements or the differing standard of

proof set forth in Minn. Stat. § 549.20.

46. Plaintiffis entitled to recovery of his costs, including reasonable attorneys’

fees, under 42 U.S.C. § 1988.
COUNT IE:
BATTERY

47. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this
Complaint.

48. By charging at Plaintiff and beating him while he was compliant,
Defendant Walker used more physical force than was reasonable and necessary under the
circumstances. Such unwanted contact and excessive force constitutes common law
battery.

49. As a direct and proximate result of Defendant Walker’s battery, Plaintiff
suffered physical injury, pain and suffering, mental anguish and humiliation in excess of
fifty thousand dollars ($50,000.00).

50. Defendant City of Minneapolis is jointly and severally liable for the actions

of Officer Walker under the doctrines of agency and respondent superior.

COUNT IL:
ASSAULT

51. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this
Complaint.

52. Defendant Walker, by his unwarranted charging of Plaintiff and beating of
Plaintiff, caused Barnes to be in reasonable fear of imminent great bodily harm. These

actions and display of force by Defendant constitutes common law assault.
53. As a direct and proximate result of Defendant’s assault, Plaintiff suffered
physical injury, pain and suffering, mental anguish and humiliation in excess of fifty
thousand dollars ($50,000.00).

54. Defendant City of Minneapolis is jointly and severally liable for the actions

of Officer Walker under the doctrines of agency and respondeat superior.

COUNT IV:
VICARIOUS LIABILITY

55. Plaintiff re-alleges and incorporates by reference all prior paragraphs of this
Complaint.

56. The City of Minneapolis is liable for Officer Walker’s conduct because he
was acting within the scope of his employment when he caused Plaintiff physical and
emotional harm.

57. Upon information and belief, Officer Walker’s conduct occurred during
working hours and while conducting official business.

58. Defendant Officer Walker’s illegal conduct during the course and scope of
his employment is imputable to the City of Minneapolis as its agent under the vicarious

liability doctrine.

RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his

favor as follows:
1. That the practices of Defendant Officer Walker complained of herein be
adjudged in violation of the rights secured by Barnes under the Fourth Amendment.

Z. That the practices of Defendant Officer Walker complained of herein be
adjudged in violation of Minnesota common law.

3. That the City of Minneapolis is vicariously liable for Defendant Officer
Walker’s conduct adjudged in violation of Minnesota common law.

4. That a permanent injunction be issued prohibiting Defendant Officer
Walker from engaging in unreasonable seizures in violation of the Fourth Amendment.

5. That Plaintiff is awarded compensatory damages in an amount to be
established at trial.

6. That Plaintiff is awarded damages for mental anguish and pain and
suffering in amount to be established at trial.

Ts That Plaintiff is awarded punitive damages against Defendants under the
Civil Rights Act of 1871, 42 U.S.C. § 1983.

8. That the Court award Plaintiff his attorney’s fees and costs and expenses of
this action and prejudgment interest pursuant to 42 U.S.C. §§ 1983 and 1988 and
Minnesota law.

9. For such other and further relief as this Court deems just and equitable.

Respectfully submitted,

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Dated: May 24, 2013 f
Christopher J. Kuhlman, #0386840

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ATTORNEY FOR PLAINTIFF

ACKNOWLEDGMENT

The undersigned hereby acknowledges that sanctions may be awarded, pursuant to Minn.
Stat. § 549.211, to the parties against whom the allegations in the pleadings are asserted.

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May 24, 2013

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Christopher J. Kuhlman

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UNITED STATES DISTRICT COURT

 

DISTRICT OF MINNESOTA
Derryl M. Jenkins, Case No.
Plaintiff,
vs. COMPLAINT
Richard Walker, George Warzinik, JURY TRIAL DEMANDED
Michael Honeycutt, John Trangsrud, UNDER FRCP 38(b)

Shawn Powell, Christopher Tuma, and

Scott Dahlquist, all in their individual capacity
as officers of the Minneapolis Police
Department, and the City of Minneapolis,

Defendants.

 

For his Complaint, plaintiff Derryl M. Jenkins (“Jenkins”) hereby states and alleges as
follows:

iL. This is an action for money damages for injuries sustained by Jenkins as a result of
the use of excessive force in violation of his constitutional rights by the individual defendants.
Plaintiff Jenkins also asserts a claim against the City of Minneapolis pursuant to Monel] v. Department
of Social Servs., 436 U.S. 658 (1978).

2. Jenkins brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth
Amendment of the United States Constitution, and 28 U.S.C. §§ 1331 and 1342(3). The

aforementioned statutory and constitutional provisions confer original jurisdiction of this Court over

this matter.
3. The amount in conttoversy exceeds $75,000, excluding interest and costs.
4. Jenkins is, and was at all times material herein, a citizen of the United States and a

resident of the State of Minnesota.

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5. Defendant Richard Walker (“Walker”), upon information and belief, was, at all times
material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

6. Defendant George Warzinik (“Warzinik”), upon information and belief, was, at all
times material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Depattment.

qs Defendant Michael Honeycutt (“Honeycutt”), upon information and belief, was, at
all times material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

8. Defendant John Trangsrud (“Trangsrud”), upon information and belief, was, at all
times material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

9. Defendant Shawn Powell (“Powell”), upon information and belief, was, at all times
material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

10. Defendant Christopher Tuma (“Tuma”), upon information and belief, was, at all
times material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

it. Defendant Scott Dahlquist (“Dahlquist”), upon information and belief, was, at all
times material herein, a citizen of the United States and a resident of the State of Minnesota, duly
appointed and acting as an officer of the 4" Precinct of the Minneapolis Police Department.

12. Defendant City of Minneapolis is a municipality duly incorporated under the laws of

the State of Minnesota.

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13. In the early morning hours of February 19, 2009, Jenkins was driving from his
residence to a friend’s house to retrieve some music equipment he had left there and to listen to
some music.

14. Shortly after 3:00 a.m. on February 19, 2009, Walker began following Jenkins’s
vehicle, which was allegedly going 45 mph in a 30 mph zone. This is disputed by Jenkins and
Jenkins was never charged with speeding.

15. Walker initiated a traffic stop of Jenkins, and Jenkins promptly pulled his car over.
Jenkins felt something about the stop was wrong and called his girlfriend on his cell phone as soon
as he was pulled over. Jenkins’s call captured audio from this incident on his girtlfriend’s voice mail.

16. Walker exited his squad car and approached Jenkins’s vehicle. Walker attempted to
open Jenkins’s driver’s-side door, but the door was locked.

i Walker then knocked on Jenkins’s window, prompting Jenkins to crack open his car
door, at which point Walker pulled the door open and asked for Jenkins’s license.

18. Jenkins asked what he did wrong and asked to speak to Walker’s supervisor.

19. Walker continued to ask for Jenkins’s license and repeatedly ‘ndoned with his hand.

20. Jenkins believed Walker’s hand motions meant Walker wanted Jenkins to exit the
vehicle and he indicated that he had to get his license from his pocket. Jenkins’s license was in a
catgo pocket close to Jenkins’s knee and was difficult to reach while he was sitting down in the
vehicle.

21. Walker then reached into Jenkins’s car and grabbed Jenkins’s cell phone from him
and threw it on top of Jenkins’s car.

22. Unsure how best to follow Walker’s directions, Jenkins then got out of his vehicle.
Walker told him to stay in the car and Jenkins responded, “Hold on sir...” Walker then grabbed

Jenkins, pulled his sweater up over his head, and wrestled him to the ground.

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23. Upon information and belief, prior to Walker grabbing Jenkins and pulling his
sweater over his head, Jenkins had made no physically aggressive move towatd Walker whatsoever.

24. While grappling with Jenkins, Walker called for help on his radio, stating that he was
“fighting one.”

25. After Walker had Jenkins on the ground and under control, Walker struck Jenkins in
the face with his closed right fist.

26. While Walker was wrestling with and holding Jenkins on the ground, Jenkins
repeatedly asked, “What did I do wrong?”

2s Walker held Jenkins on the ground until additional officers arrived.

28. While Walker had Jenkins under control and was holding him down, Tuma, Powell,
Trangsrud, Honeycutt, Warzinik, and Dahlquist arrived in short order.

29. Without witnessing Jenkins physically assault Walker and while other officers were
restraining and/or striking Jenkins, Tuma admitted in his supplemental report that he executed at
least 3 punches to the right side of Jenkins’s head. Tuma also admitted that he then used his taser
on Jenkins, firing the probes into Jenkins for two cycles of the weapon and then using the taser in
drive-stun mode for a third cycle.

30. Without witnessing Jenkins physically assault Walker and while other officers were
restraining and/or striking Jenkins, Powell admitted in his supplemental report that he ran up to
Jenkins and kicked Jenkins in the torso 3 times. He then performed multiple closed fist strikes to
Jenkins’s head.

31. Without witnessing Jenkins physically assault Walker and while other officers were
restraining and/or striking Jenkins, Trangsrud admitted in his supplemental report that he kicked
Jenkins in the lower back and then hit him several times in the back. Trangsrud then grabbed

Jenkins’s arm and helped handcuff him.

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52, Without witnessing Jenkins physically assault Walker and while other officers were
restraining and/or striking Jenkins, Honeycutt admitted in his supplemental report that he grabbed
Jenkins’s arm and delivered several punches to Jenkins’s shoulder. Honeycutt had Jenkins’s right
arm at times during the handcuffing.

33. Without witnessing Jenkins physically assault Walker and while other officers were
restraining and/or striking Jenkins, Warzinik admitted in his supplemental report that he kneeled on
Jenkins’s leg and delivered at least 5 blows to Jenkins’s buttocks. Warzinik also held one of Jenkins’s
arms and helped handcuff him.

34. Upon information and belief, without witnessing Jenkins physically assault Walker
and while other officers wete restraining and/or striking Jenkins, Dahlquist participated in the
beating and/or handcuffing of Jenkins.

35. After a few minutes of defendant officers beating Jenkins, the officers handcuffed

36. While the supplemental reports of the defendant officers identify numerous punches
to Jenkins’s head and upper body and numerous kicks, these reports do not identify the full number
or severity of blows to Jenkins’s head (including likely kicks to the head), which are evidenced by the

squad videotape and the following photographs:

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37. Jenkins was beaten so badly that he defecated on himself.

38. Sgt. Christopher Pickhardt artived on the scene during the incident and, once
Jenkins was handcuffed, reviewed video footage of the events and filed a police report wrongly
suggesting that the video footage shows Jenkins strike Walker in the mouth.

39: Similarly, upon information and belief, Sgt. Steven Wagner investigated this case
starting on 2/19/09 and filed a report stating, “it is clear that the officer suffered demonstrable
bodily harm resulting from the assault by the defendant.” Sgt. Wagner presented the case to the
County attorney for charges.

40. One of the officers on the scene called an ambulance for Jenkins, and he was
transported via ambulance to North Memorial Hospital.

41. At North Memorial, Jenkins complained of body pains and right thumb pain and
was diagnosed with a “4cm laceration to the left eyebrow [and] orbital contusion.”

42. Jenkins received a CT scan to evaluate for facial fractures, which found no fractures
but noted, “prominent left facial and preorbital soft tissue swelling/hematoma.”

43. Jenkins received seven interrupted 6-0 sutures in his eyebrow.

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44. Just a few minutes after the beating, Dahlquist exchanged text messages with another
Minneapolis Police Department officer describing the incident with Jenkins as “A GOOD FIGHT.”

45. The force defendants Walker, Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and
Dahlquist used on Jenkins was unauthorized, excessive, and constitutionally improper.

46. Upon information and belief, the force defendants Walker, Tuma, Powell,
Trangsrud, Honeycutt, Warzinik, and Dahlquist used on Jenkins was malicious and for the very
purpose of causing pain and/or injury.

47. Upon information and belief, all of the defendants as well Sgt. Pickhardt and Set.
Wagner tried to cover up officer misconduct by filing false and misleading police reports in this
matter. ‘The reports contain several materially false claims and statements regarding Jenkins’s
conduct, including that Jenkins struck Walker and continued resisting arrest even after the initial
sttikes to his head and body. Walker, Pickhardt, and Wagner also tried to cover officer misconduct
by seeking to falsely charge Jenkins with felony assault of a police officer and a DWI based on
refusal to submit to chemical testing.

48. Jenkins was charged with Assault in the Fourth Degree (felony) against Walker and
with refusal to submit to chemical testing, Third Degree DWI. Additionally, Jenkins had his driver’s
license revoked for refusing to submit to chemical testing.

49. On March 30, 2009, the County Attorney dismissed all charges against Jenkins
related to this incident, specifying that the dismissal was “[i]n the interests of justice.” Moreover, on
June 29, 2009, the revocation of Jenkins’s driver’s license was rescinded.

50. Jenkins never physically threatened any of the defendants in any manner when he
was physically assaulted by Walker, Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and Dahlquist.

51. The severity of any potential crime at issue was minor, as Jenkins was pulled over for

speeding or, at worst, suspected, but unproven, DWI.

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52. Jenkins did not pose an immediate threat to the safety of the defendant officers or
others at the time of his beating and arrest.

53. Jenkins did not attempt to evade arrest by flight and did not actively resist arrest.

54. Finally, the defendant officers were armed while Jenkins had no weapon.

55. Following the incident, Jenkins received additional medical attention at North
Metmotial to have his sutures taken out.

56. Jenkins also sought medical attention for his right thumb at Tria Orthopaedic, where
he was diagnosed with “post-traumatic appearing osteoarthritis” in his right thumb and “subluxation
[parital dislocation] of the joint and subacute ulnar collateral ligament partial tear.”

57. Since the assault occurred on February 19, 2009, Jenkins has incurred special
damages, including medical expenses that exceed $6,000 to date, as a direct and proximate result of
the excessive use of force and violation of his constitutional rights by the defendants.

58. Plaintiff suffered and will continue to suffer mental and emotional injuries from the
vicious attack. He has received professional treatment for those injuries. Notably, he has a
complete distrust of the police and their wrongful motivations, whether racial or otherwise. His
diagnoses related to this injury ate Acute Stress Disorder with panic symptoms and aggravation of
pte-existing mental disorders, including Post Traumatic Stress Disorder.

59. Upon information and belief, and as demonstrated by the use of force manifesto
issued by 4” Precinct Lt. Mike Sauro discussing the subject incident, 4" Precinct supervisors
approved of and encouraged the level of force used against Jenkins, specifically strikes to the head.
See Exhibit A. Despite medical and police training evidence to the contrary, in his manifesto, Lt.
Sauto flatly rejected the notion that head strikes could constitute deadly force. See id.

60. Upon information and belief, the City of Minneapolis has failed to date to take any

disciplinary action against any of the defendant officers as a result of their conduct in this incident.

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61. Upon information and belief, only after the video of Plaintiffs beating became
public (and caused considerable public outrage) did the City of Minneapolis launch an investigation
into officer conduct in this incident.

62. Due to the fact that the City of Minneapolis has historically failed to discipline its
police officers for use of excessive force, these officers do not feel constrained from using excessive
force, knowing the department will not investigate their actions adequately nor impose negative
sanctions on them.

63. The effect of the department’s failure to discipline has led other Minneapolis police
officers to believe they could (as the defendant officers did) get away with using excessive force.

64. Plaintiff demands a jury trial as to all issues of fact herein.

COUNT ONE
42. U.S.C. § 1983 —- FOURTH AMENDMENT VIOLATIONS BY DEFENDANTS WALKER,
TUMA, POWELL, TRANGSRUD, HONEYCUTT,
WARZINIK, AND DAHLQUIST

65. Plaintiff realleges the allegations contained in paragraphs 1-64 herein against
defendants Walker, Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and Dahlquist.

66. By the actions described above, defendants Walker, Tuma, Powell, Trangsrud,
Honeycutt, Warzinik, and Dahlquist, under color of state law, violated and deprived Jenkins of his
clearly established and well-settled civil rights to be free from the use of excessive force.

67. Defendants Walker, Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and Dahlquist
subjected plaintiff to this deprivation of rights either maliciously or acting with reckless disregard for
whether Plaintiffs rights would be violated by these actions.

68. As a direct and proximate result of the acts and omissions of defendants Walker,
Tuma, Powell, Trangsrad, Honeycutt, Warzinik, and Dahlquist, Jenkins suffered severe injuries, was

forced to endure significant pain and mental suffering, and was thereby damaged in an amount yet

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to be determined, but believed to be well in excess of Two-Hundred Fifty Thousand ($250,000)
Dollars.

69. Punitive damages are available against defendants Walker, Tuma, Powell, Trangsrud,
Honeycutt, Warzinik, and Dahlquist and are hereby claimed as a matter of federal common law,
Smith v. Wade,461 U.S. 30 (1983), and, as such, are not subject to the differing pleading standard set
forth in Minn. Stat. § 549.20.

70. Plaintiff is entitled to recovery of his costs, including reasonable attorney fees, under
42 U.S.C. § 1988.

COUNT TWO
CIVIL RIGHTS VIOLATION BY DEFENDANT CITY OF MINNEAPOLIS

71, Plaintiff tealleges the allegations contained in paragraphs 1-70 herein against
defendant City of Minneapolis.

72. Defendant City of Minneapolis intentionally, knowingly, recklessly, or with deliberate
indifference to the rights of citizens, failed to supervise, instruct, and train, including through proper
discipline, defendants Walker, Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and Dahlquist to
refrain from using unreasonable force.

73. Defendant City of Minneapolis, through the 4" Precinct supervisors, including Lt.
Mike Sauro, approved and encouraged officers to use head strikes in situations that did not call for
deadly force.

74. Before February 19, 2009, defendant City of Minneapolis, with deliberate
indifference to the rights of citizens, initiated, tolerated, permitted, failed to correct, promoted, and
ratified a custom, pattern and practice on the part of its police personnel, including defendants
Walker, Tuma, Powell, Trangsrud, Honeycutt, Watzinik, and Dahlquist, of using excessive force,

which is evidenced by Sgt. Pickhardt’s and Sgt. Wagner’s false police reports.

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75. As of February 19, 2009, defendant City of Minneapolis maintained a custom and
practice of deliberate indifference to use of excessive force by its officers.

76. Defendant City of Minneapolis, directly or indirectly, under color of state law,
approved or ratified the unlawful, malicious, reckless, or wanton conduct of defendants Walker,
Tuma, Powell, Trangsrud, Honeycutt, Warzinik, and Dahlquist.

77. As a direct and proximate result of the acts and omissions, systematic flaws, policies
and customs of defendant City of Minneapolis, Jenkins suffered injuries, was forced to endure
unnecessary pain and mental suffering, and was thereby damaged in an amount yet to be determined
by a jury, but believed to be well in excess of Two-Hundred Fifty Thousand ($250,000) Dollars.

78. Plaintiff is entitled to recovery of his costs, including reasonable attorney fees, under
42 U.S.C. § 1988.

WHEREFORE, plaintiff Derryl M. Jenkins prays for judgment against the defendants as
follows:

1. As to Count One, a money judgment against defendants Walker, Tuma, Powell,
Trangsrud, Honeycutt, Warzinik, and Dahlquist for compensatory damages in an amount in excess
of Two Hundred-Fifty Thousand ($250,000) Dollars and punitive damages in an amount to be
determined by the jury, together with costs, including reasonable attorney fees, under 42 U.S.C. §
1988 and prejudgment interest;

2. As to Count two, a money judgment against defendant City of Minneapolis for
compensatory damages in an amount in excess of Two Hundred-Fifty Thousand ($250,000) Dollars,
together with costs, including reasonable attorney fees, under 42 U.S.C. § 1988 and prejudgment

interest;

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3. For an order mandating additional training for Minneapolis police officers to

counteract previous instruction and for remediation on use of force, including but not limited to

reversing the effects of Lt. Mike Sauro’s use of force manifesto;

4. For an order mandating additional training for Minneapolis Police Department

investigators regarding excessive force and standards for charging victims/suspects; and

5. For such other and further relief as this Court deems just and equitable.

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